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                                                                Schedule for SoClean / DW / Philips Litigation 1

                                                                                                                                                        Philips’ Assigned Claims
                                                                                                                         Philips’ Contribution
                Date                       SoClean’s Claims 2                    Philips’ Counterclaims 2                                                  (Property Damage
                                                                                                                       Claims (Personal Injury)2
                                                                                                                                                            Economic Loss)2
              8/19/2024                                                                   Joint report to S.M. Vanaskie
                                                                           Response to SoClean’s objections to
              8/20/2024                                                       S.M. Vanaskie’s Report and
                                                                                  Recommendation

1
         White cells indicate dates/events upon which there is agreement. Pink cells indicate areas of disagreement.
         Philips Position: Philips’ positions on the disputed items are set forth in its accompanying position statement and, consistent with Special Ma ster Katz’s suggestion, briefly
below. Given how unwieldy this document has become in light of the volume of footnotes and SoClean/DWHP’s decision to set forth the entirety of their positions in the footnotes,
the Philips parties informed SoClean and DWHP last week that they would be submitted a separate position statement clearly laying out the disputed items and their p ositions on
each. SoClean and DWHP decided not to submit their own position statement (Philips had no objection to them doing so, or to sharing both sides’ position statements in advance),
but SoClean and DW instead made the strategic decision to wait to see what the Philips parties submit.
          SoClean and DWHP Position: Consistent with the suggestion of Special Master Katz, and for ease of reference by the Court, SoClean’s and DWHP’s positions on the
disputed items are set forth in this joint submission. Rather than set forth (and therefore disclose) all of their positions in this joint submission, Philips has indicated their intent to
also file a separate “position statement,” which was not shared with SoClean, DWHP or Special Master Katz as part of the part ies’ negotiation of this joint submission. As such, and
regrettably, SoClean and DWHP must reserve their right to respond in a corresponding brief and/or during the August 22, 2024 status conference.
2
          There are four litigation tracks between SoClean, DW and Philips: (1) SoClean’s affirmative claims, (2) Philips’ counterclaims, (3) Philips’ contribution claims, and (4)
Philips’ assigned claims. The parties disagree as to whether a schedule should include all four tracks or be limited to only the first and second tracks.
          Philips Position: Philips believe it is important to coordinate all of these proceedings, including to minimize inefficiencies on the Court and the parties and lessen the risk
of multiple depositions of the same individuals. Much of the fact and expert discovery (including merits and jurisdictional) will overlap significantly across all four tracks, and
various legal issues will overlap as well. Philips thus believes that any schedule should take into account all four tracks so that this litigation can proceed in a coordinated fashion
(consistent with the purpose of MDL practice) and to avoid conflicting deadlines across the four tracks. The Philips parties filed their Contribution Claims (track 3) in May 2024,
following extensive briefing to the Court (and an R&R from Special Master Katz) on the entry of Pretrial Order No. 31. And t he consumer claims subject of the Assigned Claims
(track 4) were first asserted against SoClean by consumers back in 2021. Further, the Economic Loss Class Action Settlement —pursuant to which Philips RS became the owner of
these consumer claims—was first filed in September 2023. If they are actually obtaining separate counsel, Defendants should have done so long ago. The Philips parties have been
asking SoClean and DW to identify their counsel for weeks now. This is a transparent attempt by them to delay the advanceme nt of tracks 3 and 4. The Philips parties also strongly
disagree, for the reasons set forth in their position statement, that trial of SoClean’s claims against the Philips parties s hould be given priority.
          SoClean and DWHP Position: The business-to-business case has been pending for almost three years. At the July 24, 2024 status conference, the Court directed the parties
to work with Special Masters Katz and Vanaskie regarding a timeline with the goal of starting trial on the business -to-business case within a year (i.e., by July 2025). The parties’
respective positions on that schedule are set forth in the first two columns entitled SoClean’s Claims and Philips’ Counterclaims. SoClean and DWHP object to, and do not consent
to, the inclusion in this submission of proposed schedules for Philips’ Contributions Claims (Personal Injury) and Philips’ Assigned Claims (Property Damage). Philips’ Assigned
Claims and Amended Contribution Claims were filed on August 13, 2024 (i.e., the day before this submission was due). SoClean anticipates that separate counsel will be representing
it in connection with those claims, and respectfully requests that its counsel in those cases handle those matters, including the negotiation of any schedules for those matters. Here,
SoClean requests that the Court enter a schedule for the business-to-business case, consistent with the Court’s instruction that it be trial-ready by July 2025.

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                                                                                                                                                     Philips’ Assigned Claims
                                                                                                                      Philips’ Contribution
                Date                      SoClean’s Claims 2                   Philips’ Counterclaims 2                                                 (Property Damage
                                                                                                                    Claims (Personal Injury)2
                                                                                                                                                         Economic Loss)2
                                                                              SoClean / DW responses to
                                    Philips responses to Contention
             8/21/2024                                                       Contention Interrogatories on
                                     Interrogatories on Standing
                                                                                      Standing
             Disputed
        (Philips Proposal:
                                    SoClean’s standing proffers on
            8/27/2024)
                                      any SoClean employees3
      (SoClean Proposal: see
           footnote 3)

              Disputed
                                    Any oppositions and replies in
         (Philips Proposal:
                                   connection with Philips’ motion
     9/5/2025 oppositions and                                                                                       Rule 12 motions or answers      Rule 12 motions or answers
                                  to join White Oak as the real party
          9/19/2025 reply)
                                             in interest 4
      (SoClean Proposal: see
             footnote 4)



3
         Philips Position: To the extent SoClean intends to offer testimony at the standing hearing from SoClean’s own employees (SoClean has identified its CEO and CFO as
having relevant information), SoClean should provide proffers of their testimony so that Philips can decide whether to depose them (or others) by the September 27 fact discovery
deadline on standing issues. This is similar to the process that ultimately worked successfully in the Philips MDL on the KPNV personal jurisdiction issues, where KPNV made a
proffer of the testimony of one witness, and the parties stipulated to his testimo ny for the evidentiary hearing without the need for either a deposition or for his appearance at the
hearing. Not a single SoClean employee has been deposed in any of these proceedings, and Philips intends to depose lower -level SoClean employees before taking the depositions
of SoClean’s two most senior employees.
          SoClean and DWHP Position: SoClean and DWHP agree that issues of standing are to be prioritized, as the Court directed. But SoClean and DWHP believe th at fact
discovery on issues of standing should then be followed by a period for expert reports and discovery, followed by a period for summary judgment briefing and ar gument (all as set
forth on this chart). Proffers are neither necessary nor appropriate for this process. The parties are priorit izing discovery on issues of standing. Philips has had the opportunity to
explore the bases for SoClean’s standing for the past three years, and will continue to have an opportunity to do so on a prioritized basis. However, Philips’ request for proffers, and
its reference to how issues of KPNV personal jurisdiction in the Philips MDL were decided, assumes an evidentiary hearing as opposed to summary judgment briefing and argument,
which is what SoClean and DWHP believe is appropriate and the Court intende d. On the issue of multiple depositions, SoClean and its witnesses should not be prejudiced simply
because Philips desires to move for early summary judgment on the issue of standing.
4
          Philips Position: This dispute is completely unnecessary and is emblematic of the sort of delay tactics the SoClean and DW parties have been engaged in. At SoClean’s
express request, the Philips parties agreed to extend their response deadline to September 5 (as reflected in the chart), which is more than three weeks after the Philips parties filed
the White Oak motion. But now, SoClean appears to be trying to delay this motion (and SoClean’s own response) by suggesting that it should not file its response until White Oak
files a response, if ever. Even worse, despite knowing who represents White Oak, SoClean’s counsel has refused to identify White Oak’s counsel to the Philips parties, requiring the
Philips parties to serve White Oak with its courtesy copy, which the Philips parties have now done. SoClean obviously wants to delay the substitution of White Oak into this case
and is erecting wasteful roadblocks at every stage.

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                                                                                                                                                       Philips’ Assigned Claims
                                                                                                                       Philips’ Contribution
                Date                      SoClean’s Claims 2                    Philips’ Counterclaims 2                                                  (Property Damage
                                                                                                                     Claims (Personal Injury)2
                                                                                                                                                           Economic Loss)2
                                                                             Motion for leave to amend
       7 days after ruling on
                                                                          Counterclaims (with opposition due
      SoClean’s objections to
                                                                          14 days later and reply due 7 days
       S.M. Vanaskie’s R&R
                                                                                        later)5




         SoClean and DWHP Position: Philips filed its motion to join White Oak as a real party in interest on August 13, 2024 (i.e., the day before this submission was due).
Philips has indicated its intent to serve White Oak with the motion. SoClean requests that any briefing and argument by it o n the motion to join White Oak as a real party in
interest be on the same schedule as W hite Oak, and in any event that its response to the motion be due no earlier than September 5, 2024.
5
          Philips Position: In its Amended Counterclaims, Philips will be adding (i) new parties, including the three DW funds, White Oak, and additional SoClean entities, and
(ii) new theories and allegations as to both liability and personal jurisdiction (including as to DWHP) newly identified over the course of recent discovery. If the Court prefers,
Philips can file its motion for leave to amend the Counterclaims sooner, but for judicial efficiency, Philips believes SoClean’s challenge to S.M. Vanaskie’s R&R as to the adequacy
of Philips’ original pleading should first be resolved so as to avoid the potential for two amendments to the Counterclaims. Contrary to SoClean and DWHP’s position, the personal
jurisdiction issue (whether for DWHP or for any of the other Counterclaim-Defendants who intend to challenge jurisdiction) is nowhere near “ripe” for resolution for the reasons set
forth in the Philips parties’ position statement. The Court should resolve all personal jurisdiction challenges in a coordinated fashion after the plea dings have settled and at the
conclusion of discovery, just as the Court stated at last month’s case management conference. See July 24, 2024 CMC Tr. at 16 (“[W]e have to have a process where we understand
that once that fact discovery period for the whole case is concluded, then we have to have the briefing finalized on the personal jurisdiction issues for any summary judgment motions,
and then we will have the trial.” (emphasis added)). Otherwise, the Court will be holding separate personal jurisdiction hea rings for each defendant challenging personal jurisdiction,
despite the fact that the core legal question as to personal jurisd iction is the same for each defendant.
         SoClean and DWHP Position: Philips has for months been vaguely referencing its intent to seek to amend its counterclaims to add certain undisclosed new parties and
new theories to its Counterclaims. At the July 24, 2024 status conference, the Court instructed that Philips must get its motion for leave to amend “filed soon, because you need
permission.” Counsel for Philips responded that they would “make that motion and show Your Honor, but we will get it filed s oon.” Instead of filing their motion for leave to amend
“soon,” Philips first proposed that they file their motion on August 30, 2024. Philips now states that they will file their motion for leave to amend seven days after the Court’s ruling
on SoClean’s objections to Special Master Vanaskie’s R&R. That is Philips’ choice. However, as will be set forth in SoClean’s and DWHP’s fo rthcoming response to Special
Master Vanaskie’s Order for Status Report (MDL 3021 Dkt. 649), the issue of this Court’s exercise of personal jurisdiction over DWHP has been fully briefed, jurisdictional discovery
and depositions have taken place, and the matter is ripe for adjudication. The parties, including Special Master Katz, expen ded significant time and resources getting to this point.
DWHP requests that it be afforded an opportunity to have the issue of this Court’s exercise of personal jurisdiction over it decided as was previously ordered by the Court and agreed
to by the parties – with an evidentiary hearing at the earliest practicable opportunity. SoClean and DWHP reject any attempt by Philips to delay adjudication of this issue because
of potential amendments to their Counterclaims that Philips may make in the future if their Counterclaims survive dismissal and if they are permitted leave to file any such
amendments. Incredibly, and directly contrary to the process and schedule the Court ordered and the parties agreed to in ear ly June 2024, Philips now proposes that DWHP be kept
a party in this case at least through a decision following an evidentiary hearing to be held in March 2025. And, moreover, Philips at the same time requests that DWHP be required
to immediately participate in full merits discovery for no other reason than Philips’ litigation decision to at some point in the future potentially amend its Counterclaims. To be clear,
SoClean agrees that discovery is not stayed in the business-to-business case and is proceeding. But the Court’s previous order of a stay as to DWHP, including a stay of DWHP’s
deadline to respond to Philips’ Contributions Claims “until the issue of personal jurisdiction over DW is resolved” (MDL 3014 Dkt. 2738), should not be undone simply because
Philips has indicated an intent to seek leave to amend their Counterclaims at some later date .

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                                                                                                                                                       Philips’ Assigned Claims
                                                                                                                          Philips’ Contribution
                 Date                      SoClean’s Claims 2                   Philips’ Counterclaims 2                                                  (Property Damage
                                                                                                                        Claims (Personal Injury)2
                                                                                                                                                           Economic Loss)2
               9/24/2024                                                                                                Rule 12(b)(6) oppositions6     Rule 12(b)(6) oppositions5
               9/27/2024                          Deadline for fact discovery on standing issues
               10/3/2024                               Expert reports on standing issues
               10/8/2024                                                                                                      Rule 12(b)(6) replies       Rule 12(b)(6) replies
              10/17/2024                           Rebuttal expert reports on standing issues
              10/24/2024                        Deadline for expert depositions on standing issues
                                                                            Rule 12 motions or answers to
       21 days after ruling on
                                                                          Amended Counterclaims if leave
        motion for leave to
                                                                        granted (with opposition due 21 days
       amend Counterclaims
                                                                          later and reply due 14 days later)
               11/7/2024                                        Standing motions
              11/21/2024                                Oppositions to standing motions
              11/28/2024                            Replies in support of standing motions
              12/12/2024                                   Hearing on standing motions
       (case management conference)
              12/20/2024                                                                          Close of fact discovery 7


6
         Philips Position: These oppositions (and the subsequent replies in October) should focus only on the Rule 12(b)(6) arguments. The additional b riefing on any Rule 12(b)(2)
motions (i.e., any personal jurisdiction arguments made by DWHP or any of the other defendants asserting a personal jurisdiction defense) should occur later, in advance of the
evidentiary hearing on personal jurisdiction, following the development of the evidentiary record on personal jurisdiction as to those entities. The Court also made clear at the last
conference that discovery would proceed for all parties, not limited to only SoClean. DWHP’s proposal to stay all discovery as to DWHP is going to result in delay. Moreover, in
the Philips MDL, there was never any stay of merits discovery of KPNV when KPNV similarly challenged personal jurisdiction.
        SoClean and DWHP Position: As set forth above, SoClean anticipates that separate counsel will be representing it in connection with the Assigned Claims and Amended
Contribution Claims that were filed on August 13, 2024 (i.e., the day before this submission was due), and therefore respectfully requests that its counsel in those matters be
responsible for those matters, including the negotiation of any schedule. Consistent with the Co urt’s prior order of a stay of DWHP’s deadline to respond to Philips’ Contribution
Claims “until the issue of personal jurisdiction over DW is resolved” (MDL 3014 Dkt. 2738), DWHP requests that the Court conf irm that the same stay likewise applies to Philips’
Assigned Claims.
7
         Discovery will be coordinated to fit with the SoClean consumer class action litigation as much as reasonably practicable. Th is means, for instance, that depositions that
apply to the consumer class action should be conducted before the close of fact discovery in that action (currently, November 22, 2024).
         Philips Position: The close of fact discovery should apply to all fact discovery, including merits, jurisdictional and class certification, oth er than (a) discovery on standing
issues (which has an earlier deadline consistent with the prioritization the Court requested), and (b) discovery on individual patients in connection with the personal injury contribution
claims (which will come later as part of the bellwether process). W hile the parties agree on the date to close fact discovery, they disagree regarding whether DWHP should participate
in discovery before personal jurisdiction motions are decided. If DWHP does not participate in discovery, this will affect a number of deadlines and doubtless result in delay.
        SoClean and DWHP Position: The parties agree on the date for close fact discovery in the business-to-business case. However, as set forth above, SoClean and DWHP
do not consent to any deadlines for Philips’ claims filed the day before the filing of this submission, including close of fact discovery in those cases.

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                                                                                                                                                     Philips’ Assigned Claims
                                                                                                                      Philips’ Contribution
                Date                      SoClean’s Claims 2                   Philips’ Counterclaims 2                                                 (Property Damage
                                                                                                                    Claims (Personal Injury)2
                                                                                                                                                         Economic Loss)2
                                                                                                                                                          Motion for class
                                                                                                                      Bellwether selections                 certification
                                                                        Expert reports on personal jurisdiction
             1/20/2025
                                                                                       issues8                      Expert reports on personal        Expert reports on class
                                                                                                                       jurisdiction issues           certification and personal
                                                                                                                                                         jurisdiction issues
                                                                                                                                                     Opposition to motion for
                                                                                                                                                         class certification
                                                                          Rebuttal expert reports on personal       Rebuttal expert reports on
             2/10/2025
                                                                                 jurisdiction issues8               personal jurisdiction issues    Rebuttal expert reports on
                                                                                                                                                      class certification and
                                                                                                                                                    personal jurisdiction issues
                                                                                                                   Conclusion of fact discovery
             2/20/2025
                                                                                                                    on bellwether selections
                                                                                                                                                      Class certification reply
                                                                            Expert depositions on personal            Expert depositions on
             2/24/2025                                                                                                                              Expert depositions on class
                                                                                 jurisdiction issues8               personal jurisdiction issues
                                                                                                                                                     certification and personal
                                                                                                                                                         jurisdiction issues
                                                                         Pre-hearing submissions on personal       Pre-hearing submissions on       Pre-hearing submissions on
              3/3/2025
                                                                                 jurisdiction issues8              personal jurisdiction issues     personal jurisdiction issues
         Mid-March 2025                                                                                                                             Class certification hearing




         With regard to DWHP, as set forth above (see footnote 4), the parties have engaged in extensive jurisdictional discovery, including depositions, and should proceed to an
evidentiary hearing as soon as practicable, as previously ordered by the Court and agreed to by the parties. DWHP should not be required to remain a party to this case, obligated to
participate in full merits discovery, at least through a decision following an evidentiary hearing in March 2025 as Philips proposes – simply due to Philips’ litigation decision to at
some point in the future potentially seek leave to amend its Counterclaims.
8
         Philips Position: Philips’ proposed dates for personal jurisdiction proceedings are intended to accommodate various events that must occur befo re those proceedings: a
decision on Judge Vanaskie’s R&R, followed by Philips’ motion to amend its Counterclaims to assert additional jurisdictional theories and allegatio ns as to DWHP as well as the
new parties (many of whom are also likely to assert personal jurisdiction defenses), followed by disco very on the new allegations as to both DWHP and any of the other Counterclaim-
Defendants who challenge personal jurisdiction. This proposal is also consistent with the Court’s statement at the last case management conference that personal jurisdiction would
be decided after the conclusion of discovery. July 24, 2024 CMC Tr. at 16 (emphasis added) (“[W]e have to have a process whe re we understand that once that fact discovery period
for the whole case is concluded, then we have to have the briefing finalized on the personal jurisdiction issues for any summary judgment motions, and then we will have the trial.”).
         SoClean and DWHP Position: See footnotes 4 and 7. The issue of the Court’s exercise of personal jurisdiction over DWHP is ripe for adjudication o n a prompt schedule,
as previously ordered by the Court and agreed to by the parties. DWHP also disagrees that Philips’ citation to a single statement made by the Court during the July 24, 2024 status
conference overrides the Court’s prior order of a stay as to DWHP “until the issue of personal jurisdiction over DW is resolved” (MDL 3014 Dkt. 2738).
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                                                                                                                                                        Philips’ Assigned Claims
                                                                                                                         Philips’ Contribution
                Date                       SoClean’s Claims 2                   Philips’ Counterclaims 2                                                   (Property Damage
                                                                                                                       Claims (Personal Injury)2
                                                                                                                                                            Economic Loss)2
                                                                                                                        Responsive pre-hearing           Responsive pre-hearing
                                                                           Responsive pre-hearing submissions
              3/17/2025                                                                                                 submissions on personal          submissions on personal
                                                                             on personal jurisdiction issues8
                                                                                                                           jurisdiction issues              jurisdiction issues
                                                                             Personal jurisdiction evidentiary           Personal jurisdiction            Personal jurisdiction
          Late March 2025
                                                                                         hearing 8                        evidentiary hearing              evidentiary hearing

              3/24/2025                                                                   Expert reports on remaining issues

             4/14/2025                                                              Rebuttal expert reports on remaining issues
             4/28/2025                                                                      Close of expert discovery
              5/2/2025                                                                   Any Daubert/Rule 702 motions
             5/16/2025                                                                 Any Daubert/Rule 702 oppositions
          Late May 2025                                                            Daubert/Rule 702 hearing on remaining issues
             Disputed
       (Philips Proposal: 14
      days after Daubert/Rule
                                                        Motions for Summary Judgment (with oppositions due 21 days later and replies due 14 days later) 9
            702 ruling)
      (SoClean Proposal: see
        footnotes 9 and 10)
             Disputed
       (Philips Proposal: 14
        days after summary
                                                                                                  Motions in limine8
         judgment ruling)
      (SoClean Proposal: see
        footnotes 9 and 10)
             July 2025                                                                              Trial-Ready10


9
         Philips Position: This Court has stated on several occasions, in both MDLs, that it prefers to “deal with the expert sort of Daubert/Rule 702 motions first” and “then deal
with the issue of summary judgment after that’s decided.” (E.g., Jan. 25, 2024 CMC Tr. at 22.) Consistent with that instruction, the Philips parties have not set a firm date for
summary judgment motions (which would force the Court to decide the Dauberts by a date certain), but instead to tether the deadline for summary judgment motions to when the
Court has decided the Dauberts. The Philips parties have done the same thing for motions in limine for the same reason.
         SoClean and DWHP Position: SoClean and DWHP object to Philips’ request that motions for summary judg ment and motions in limine be triggered only by rulings on
other motions, solely to the extent that doing so would result in a trial-ready date for the business-to-business case later than July 2025 as instructed by the Court at the July 24, 2024
status conference. SoClean and DWHP will be prepared to discuss the Court’s practice and preference at the August 22, 2024 status conference.
10
           Philips Position: The parties agree on this trial date but disagree on which claims should be tried first or whether now is the time for the Court to decide that question.
Philips believes the sequencing of trials should be determined later in proceedings, after the tracks have advanced further, and after the parties have briefed which track should be
tried first. The potential prejudice to the Philips parties is set forth in more detail in their position statement, but in essence, SoClean is trying to effect an out-of-bankruptcy-court

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reorganization plan and is improperly trying to prioritize certain creditors (in pa rticular, White Oak) over others (in particular, the Philips parties). Moreover, the Philips parties
disagree that the Court stated that any particular track must be tried in July 2025, but instead, that the parties need to be ready for trial on all of their claims against one another by
then. Under the Philips parties’ proposal, that will happen.
         SoClean and DWHP Position: As set forth above, at the July 24, 2024 status conference, the Court directed the parties to work with Special Masters Katz and Vanaskie
regarding a timeline with the goal of starting trial on the business-to-business case within a year (i.e., by July 2025). That is what SoClean and DWHP have attempted to do, with
the assistance of Special Master Katz. As also set forth above, So Clean and DWHP object to, and do not consent to, the inclusion in this submission of trial dates, or any other dates,
for new claims filed by Philips the day before submission of this filing.
                                                                                            -7-
